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     United States of America
 7
 8                         IN THE UNITED STATES DISTRICT COURT

 9                            EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,               ) Case No. 1:11-cr-00026 LJO
                                             )
12                           Plaintiff,      ) GOVERNMENT’S MOTION FOR AN
                                             ) ORDER FINDING A PARTIAL WAIVER
13           v.                              ) OF THE ATTORNEY-CLIENT AND
                                             ) WORK PRODUCT PRIVILEGES, AND
14                                           ) FOR AN EXTENSION OF TIME;
     JAYSON PETER COSTA,                     ) [PROPOSED] ORDER
15                                           )
                             Defendant.      )
16                                           )
                                             )
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18
19         The United States of America, by and through its attorneys,

20   Assistant United States Attorneys Kirk E. Sherriff and Henry Z.

21   Carbajal III, hereby provides notice of and moves for an Order

22   finding a partial waiver of the attorney-client and work product

23   privileges, and permitting discovery as to defendant Jayson Costa’s

24   communications with his prior counsel, John Garland, and as to

25   Mr. Garland’s work product in his representation of Mr. Costa in this

26   case.    Defendant Costa has waived such privileges based on his

27   petition filed March 30, 2015 pursuant to 28 U.S.C. § 2255,

28   consisting of 156 pages including attachments, which asserts as

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 1   ground one a claim of allegedly ineffective assistance by his prior

 2   counsel.     Doc. 558, pp.4, 14-18.      “It has long been the rule in the

 3   federal courts that, where a habeas petitioner raises a claim of

 4   ineffective assistance of counsel, he waives the attorney-client

 5   privilege as to all communications with his allegedly ineffective

 6   lawyer.”     Bittaker v. Woodford, 331 F.3d 715, 716 (9th Cir. 2003) (en

 7   banc).     The waiver applies equally to the work product privilege.

 8   Id. at 722 n.6.

 9         There is good cause for such discovery to enable the government

10   to respond fully to this Court’s April 13, 2015 Order.             On April 13,

11   2015, the Court ordered the United States to file an opposition by

12   May 28, 2015.      Government counsel have spoken with defendant’s prior

13   counsel, John Garland, concerning defendant Costa’s § 2255 motion.

14   Mr. Garland has indicated that he disagrees with defendant’s

15   allegations against him, but requires that the government obtain a

16   court order finding a privilege waiver before discussing with the

17   government his privileged communications and work product relevant to

18   the response to defendant Costa’s § 2255 motion, and before providing

19   such communications and work product to the government.              Accordingly,

20   the government is filing the present motion.            The government also

21   requests a 30-day extension of time, to June 29, 2015, to file its

22   response to Costa’s § 2255 motion, as the government will need

23   additional time to review the materials from defense counsel once

24   they are provided.

25   I.    PROCEDURAL HISTORY

26         On January 13, 2011, Costa was indicted on felony counts of

27   conspiracy to commit mail fraud, wire fraud and bank fraud; mail

28   fraud; bank fraud; and conspiracy to launder money.             Doc. 1.   Costa

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 1   pleaded guilty on November 12, 2013 to count one of the indictment,

 2   conspiracy to commit mail fraud, wire fraud and bank fraud, in

 3   violation of 18 U.S.C. § 1349.        Docs. 244, 234.     On March 24, 2014,

 4   the Court sentenced Costa to 78 months in prison.           Docs. 394, 406.

 5   This sentence was at the low end of the applicable sentencing

 6   guideline range.

 7
     II.   MOTION FOR AN ORDER FINDING A PARTIAL WAIVER OF THE ATTORNEY-
 8         CLIENT AND WORK PRODUCT PRIVILEGES
 9         A.    Costa’s Claims of Ineffective Counsel

10         Costa’s § 2255 motion asserts as ground one “ineffective

11   counsel: failure to investigate.”        Doc. 558, p.4.     Costa claims that

12   Mr. Garland allegedly “was ineffective in failing to conduct a

13   reasonable investigation of the facts relevant to the Petitioner’s

14   Plea Agreement, Pre-Sentencing, Sentencing and Restitution.”

15   Doc. 558, p.14.     Costa’s § 2255 motion then identifies over several

16   pages the alleged ineffective conduct by attorney Garland.              Doc. 558,

17   pp.14-18.

18         There is good cause for discovery of attorney-client

19   communications and work product concerning counsel’s representation

20   of Costa in this case with respect to the matters raised in Costa’s

21   § 2255 motion, including in connection with Costa’s plea agreement,

22   guilty plea, and sentencing.        Costa’s allegations directly concern

23   both attorney-client communications and his counsel’s work product.

24   To determine whether former counsel provided effective assistance to

25   a defendant, the Court considers whether the assistance was

26   objectively reasonable under the circumstances.           Strickland v.

27   Washington, 466 U.S. 668, 688 (1984).        “Judicial scrutiny of

28   counsel’s performance must be highly deferential.”           Id. at 689.

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 1   Counsel’s strategic decisions made after thorough investigation of

 2   the law and facts are virtually unchallengeable.          Id. at 690.

 3         The government believes that if a waiver of the attorney-client

 4   and work product privilege is found, and discovery including a

 5   declaration and corroborating documentation from defense counsel is

 6   provided to the government, such evidence would rebut defendant’s

 7   allegations.    The government requires access to such attorney-client

 8   communications and work product, including a declaration from defense

 9   counsel, to respond fully to the Court’s April 13, 2015 Order and to

10   defend against Costa’s ineffective assistance of counsel claim.

11   Accordingly, there is good cause for such discovery in this case.

12
           B.    Costa’s Waiver of the Attorney-Client and Work Product
13               Privileges
14         By his allegations, Costa has waived the privilege as to

15   attorney-client communications and his counsel’s work product for

16   purposes of the present habeas proceeding.         The privilege is

17   implicitly waived “by asserting claims the opposing party cannot

18   adequately dispute unless it has access to the privileged materials.”

19   Bittaker v. Woodford, 331 F.3d 715, 719 & 722 n.6 (9th Cir. 2003) (en

20   banc) (habeas petitioner waives attorney-client and work product

21   privileges by asserting ineffective assistance of counsel).             The

22   defendant can preserve the confidentiality of such privileged

23   communications only by abandoning the claims that give rise to the

24   waiver condition.     Id. at 721.    “[T]he federal courts have determined

25   that claims of ineffective assistance of counsel cannot be fairly

26   litigated unless the petitioner waives his privilege for purposes of

27   resolving the dispute.”       Id. 722.

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 1         The privilege waiver in these circumstances is partial, in that

 2   the information obtained through the waiver is to be used for

 3   purposes of adjudicating the petitioner’s habeas petition, but not in

 4   a retrial or in an unrelated case.           Id. at 720-25; Lambright v. Ryan,

 5   698 F.3d 808, 818 (9th Cir. 2012).           Accordingly, the government seeks

 6   a partial privilege waiver that would permit information obtained

 7   through the waiver to be used in response to Cole’s § 2255 motion,

 8   but not as evidence in its case-in-chief in any retrial or different

 9   case.   The United States cannot adequately litigate the defendant’s

10   claims unless former defense counsel divulges his oral and written

11   communications with the defendant, and his work product, and provides

12   evidence concerning his performance in this case.

13   III. CONCLUSION

14         The defendant has put the nature of his attorney-client

15   relationship with prior counsel at issue by challenging his

16   performance.     Bittaker, 331 F.3d at 716.        The defendant’s claims of

17   ineffective assistance by his former counsel place his past oral and

18   written communications with former counsel, and his counsel’s work

19   product in this case, directly at issue.           The defendant has therefore

20   waived the attorney-client and work product privileges for purposes

21   of litigating his § 2255 motion.        Id. at 716, 722 n.6.

22         The United States respectfully requests that the Court find

23   that, if defendant Costa does not timely withdraw his allegations

24   concerning ineffective assistance of counsel, defendant has waived

25   the attorney-client privilege as to all communications with his

26   former counsel and any privilege as to his counsel’s work product,

27   with respect to the allegations in his § 2255 motion.            The government

28   further requests that the Court order that all such materials

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 1   concerning events and facts relating to Costa’s claims of ineffective

 2   assistance of counsel be disclosed to the government for purposes of

 3   responding to the § 2255 motion, and that defense counsel (and his

 4   staff and agents if they have personal knowledge of such matters) be

 5   directed to provide to the government a declaration responding to

 6   Costa’s § 2255 motion.

 7         The government also requests a 30-day extension of time, to

 8   June 29, 2015, to file its response to Costa’s § 2255 motion, as the

 9   government will need additional time to review the materials from

10   defense counsel once they are provided.

11   Dated:      April 24, 2015
12                                             Respectfully submitted,
13                                             BENJAMIN B. WAGNER
                                               United States Attorney
14
15                                             /s/ Kirk E. Sherriff
                                               KIRK E. SHERRIFF
16                                             HENRY Z. CARBAJAL III
                                               Assistant U.S. Attorneys
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18
19                                           ORDER

20
21         Good cause appearing, IN THE ALTERNATIVE, the United States’

22   motion for partial waiver of petitioner Jayson Costa’s attorney-

23   client privilege and the work product privilege, and for the

24   compelled discovery of responsive attorney-client communications and

25   work product is GRANTED as follows:

26         (1)    The attorney-client privilege of defendant/petitioner

27                Jayson Costa is waived with respect to all communications

28                between defendant Jayson Costa and his former attorney,

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 1               John Garland, and his staff and agents, concerning events

 2               and facts related to defendant’s claims of ineffective

 3               assistance of counsel in defendant’s § 2255 motion in

 4               United States v. Jayson Costa, No. 1:11-cr-0026 LJO (E.D.

 5               Cal.).

 6         (2)   The work product privilege is waived with respect to the

 7               work product of John Garland, and his staff and agents,

 8               concerning events and facts related to defendant’s claims

 9               of ineffective assistance of counsel in his § 2255 motion.

10         (3)   Attorney John Garland, and his staff and agents, shall

11               disclose to the government all communications between

12               themselves and defendant Jayson Costa concerning events and

13               facts related to defendant’s claims of ineffective

14               assistance of counsel in his § 2255 motion.

15         (4)   Attorney John Garland, and his staff and agents if they

16               have personal knowledge of such matters, shall provide the

17               government with a declaration addressing the communications

18               with defendant and work product concerning events and facts

19               related to the ineffective assistance of counsel claims

20               presented in defendant’s § 2255 motion, and shall

21               communicate and coordinate with government counsel to

22               ensure that all issues are adequately addressed in the

23               declaration.

24         ALTERNATIVELY, the Court Orders that if the finding of waiver

25         changes the Defendant’s decision on whether or not to proceed

26         with the petition, he must notify this Court within ten (10)

27         court days of the date of this order by withdrawing his

28         allegations concerning ineffective assistance of counsel in the

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 1         Petition.         Failure to do that confirms the alternative portion

 2         of this Order finding waiver.

 3         The government’s motion for an extension of time, to June 29,

 4   2015, to file its response to defendant Costa’s § 2255 motion is

 5   GRANTED.

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     IT IS SO ORDERED
 7   Dated: April 27, 2015
 8                                            /s/ Lawrence J. O’Neill
                                             United States District Judge
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 1                               CERTIFICATE OF SERVICE

 2
 3         The undersigned hereby certifies that she is an employee in the

 4   Office of the United States Attorney for the Eastern District of

 5   California and is a person of such age and discretion to be competent

 6   to serve papers; that on April 24, 2015, she served a copy of the

 7   following documents:

 8         1.    GOVERNMENT’S MOTION FOR AN ORDER FINDING A PARTIAL WAIVER

 9               OF THE ATTORNEY-CLIENT AND WORK PRODUCT PRIVILEGES, AND FOR

10               AN EXTENSION OF TIME; [PROPOSED] ORDER

11   by placing said copies in a postpaid envelope addressed to the person

12   hereinafter named, at the place and address stated below, which is

13   the last known address, and by depositing said envelope and its

14   contents in the United States Mail at Fresno, California.

15         Addressee:

16         U.S. Mail
           Jayson Peter Costa
17         65615-097
           FCI BIG SPRING
18         FEDERAL CORRECTIONAL INSTITUTION
           1900 Simler Ave.
19         Big Spring, TX 79720
20
21   Dated: April 24, 2015

22
23                                 /s/ Donna McCloskey
                                   Donna McCloskey
24                                 United States Attorney’s Office
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